IN THE UNITED sTATES DISTRICT COURT _
NORTHERN DISTRICT OF ILLINOIS, EASTERN'DIVISIQI}L_§_D ~ 1394

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ANDRE WILLMMS,BRENDA WILLIAMS, ) r“}§\\§l dust
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individually and as next friend of her minor child )
BRESHONTAE WILLIAMS; ANTHONY )
JACKSON, individually and as next friend of his )
minor children, JAREEM JACKSON and
KAREEM JACKSON; JOYCE PALMER as
next friend of her minor child, VICTORIA
PALMER, on behalf of themselves and all other
similarly situated,

 

JURY TRIAL DEMANDED

Plaintiffs

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V.

LIEUTENANT ERNEST BROWN # 353;
SERGEANT EDWIN A. 'I`HOMAS # 2262;
SERGEANT KENNETH KROK #1599;
OFFICER ISAAC LEB, JR. # 10353; OFFICER
SEAN S. BRANDON # 18866; OFFICER D.
HOARD # 8105; OFFICER A. JONES # 19462;
and more than 15 additional UNlDENTIFIED
CHICAGO POLICE OFFICERS, in their
individual capacities; and the CITY OF
CHICAGO,

Defendants.

CLASS ACTION COMPLAINT
Plaintiffs, by counsel, allege as follows:
INTRODUCTION
1 . Plaintitt`s bring this civil rights class action seeking money damages on behalf of themselves
and all ethers similarly situated (“PlawtiffClass”) (collectively “Plaintiffs”) arising under 42 U.S.C. §§ l 983

and 1988 and 28 U.S.C. §2201e_t _se_q.

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2. Plaintiffs’ claims arise nom the Chicago Police raid of the StatewayRoundball Classic, a
community basketball tournament held at the Stateway Gardens Field House, 3658 South State Street in
Chicago, on the evening of February 22, 2001 , where Defendants invaded a lawful and peaceful
community gathering ofABican Arnerican families During the raid, Defendants, acting under color oflaw,
unlawfully detained Plaintiffs and subjected Plaintit`fs to unlawiiil, unreasonable and unjustified searches and
seizures of their persons and personal effects Defendants seized and searched Plaintiffs, from children and
teens to adult Women and men. The Defendants, by these acts, deprived Plaintiffs of their rights under the
Fourth and Fourteenth Arnendments tc the United States Constitution to be free from unreasonable
searches and seizures.

JURISDICTION AND VENUE

3. The jurisdiction of the Court is conferred by 28 U.S.C. §§ 1331 and 1343, and
supplemental jurisdiction is conferred by 28 U.S.C. § 1367.

4. Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. § 1391.
NAMED PLAINTIFFS

5 . Plaintiffs Brenda and Breshontae Williams are residents of the City ofChicago and United
States citizens Brenda Williams is a 25-year-old African American woman and mother of her one-year~
old child, Breshontae Williams. Brenda Williams took her daughter Breshontae to the Stateway Field
House to watch the Stateway Roundball Classic 0n February 22, 2001 . PlaintiffBreshontae Williarns
brings this action by her mother and next friend, Brenda Williams.

6. PlaintiffAndre Williarns is a 27-year~01d African Arnerican man, a resident of the City of
Chicago, and a United States citizen He was abasketball player for Tearn #2 in the Stateway Roundball

Classic. His team was scheduled to play on the evening of February 22, 2001.

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7. PlaintiffVictoria Palmer is a 13-year-old Afi'ican American child, a resident of the City of

Chicago, citizen of the United States, and sixth grade elementary student at Raymond School in Chicago.
She was a spectator at the Stateway Roundball Classic on February 22, 2001 . PlaintiffVictoriaPalmer
brings this action through her mother and next friend, Joyce Palrner. Joyce Palmer is also a City ofChicago
resident and United States citizen.

8. Plaintiffs Anthony, Jareern, and Kareem Jacl<son are residents of the City ofChicago and
United States citizens. Anthony Jackson is a 40-year-old African American man. He is the father of
Jareem and Kareeni, his 9- and 1 0 year-old sons. Anthony Jackson was abasketball player for Team #2
in the Stateway Roundball Classic. He brought his sons, Jareern and Kareem, to watch him play on
February 22, 2001 . Plaintiffs Jareein and Kareem Jackson bring this action through their father and next
friend, Anthony Jackson.
DEFENDANTS

9. The "Individual Defendants"-- Lieutenant Brnest Brown, Sergeant Edwin A. Thornas,
Sergeant Kenneth Krok, Officer Isaac Lee, Jr., Officer Sean S. Brandon, OfficerD. Hoard, Officer A.
Iones, and more than 15 additional unidentified Chicago police officers -- were at all times relevant to this
Cornplaint acting under color of state law as police officers of the City ofChicago and within the scope of
their employment Plaintiffs sue all of the Individual Defendants in their individual capacities

l 0. Defendant Ernest Brown was the Cornmander of the Public Housing Unit of the Chicago
Police Department on February 22, 2001 . Sergeants Thomas and Krok were supervisory officers in the
Public Housing Unit of the Chicago Police Department on February 22, 2001 . Officers Lee, Brandon,
Hoard, and J ones were tactical officers assigned to the Public Housing Unit of the Chicago Police

Department on February 22, 2001.

 

1 1 . Defendant City of Chicago is an lllinois municipal corporation, and was, at all times relevant

to this Complaint, the employer and principal of the Individual Defendants.

CLASS ALLEGATIONS

 

1 2. Narned Plaintiffs bring this lawsuit on behalf of the PlaintiffClass seeking monetary damages
pursuant to Federal Rule ofCivil Procedure 23 (b) (3), Plaintiffs institute this class action on behalf of
themselves and all other persons who were unlawfully seized and searched in the Stateway Gardens
Chicago Park District Field House during the evening ofFebruary 22, 2001 by Defendants during the
Defendants’ raid of the Stateway Roundball Classic basketball tournament

13. Class action status under Rule 23 is appropriate in this case because the members of the
class are so numerous that joinder of all putative class members is impractical On information and belief,
approximately 250 Afn`can American persons were subjected to Defendants’ unconstitutional conduct and
are members of the Plaintiff Class.

14. Plaintiffs’ claims arise from a common course of conduct committed by Defendants.
Defendants raided the Februaiy 22, 2001 , Stateway basketball tournament, and systematically seized and
searched Plaintiffs and Plaintiffs’ personal effects. There are questions of law and fact common to the
class, which include but are not limited to:

a. Whether Defendants violated Plaintiffs ’ rights under the Fourth and Fourteenth
Amendments to the United States Constitution to be secure in their persons,
papers, and effects from unreasonable searches and seizures;

b. Whether Defendants had probable cause to raid the Stateway Gardens community

basketball tournament on February 22, 2001;

 

 

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c. Whether Defendants possessed a warrant authorizing their raid of Stateway
Gardens community basketball tournament and searches and seizures of Plaintiffs
and Plaintiffs’ effects on February 22, 2001;
d. Whether Defendants had probable cause or other legal justification to seize and
Search Plaintiffs’ persons and effects in the Stateway Gardens community
basketball tournament on February 22, 2001;
e. Whether Defendants violated Plaintiffs’ Constitutional rights by raiding the
Stateway communitybasketball toumament, and seizing and searching Plaintiffs
and their personal effects without a warrant on February 22, 2001;
f. Whether Chicago police command authorized Defendants to raid the Stateway
community basketball tournament and seize and search Plaintiffs and Plaintiffs ’
personal effects on February 22, 2001;
g. Whether Defendants conspired and agreed to deprive Plaintiffs of their
Constitutional rights according to a common plan.
1 5 . The claims of the named Plaintiffs are typical of the claims of the entire class, because each
member of the class was subject to Defendants’ common course of unconstitutional conduct.
16. The named Plaintiffs will fairly and adequatelyprotect the interests of the class because they
seek money damages and declaratory relief on behalf of the entire class as a whole and have no interests
antagonistic to other members of the class Plaintiffs are represented by counsel experienced in class action

litigation.

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17. The class actioh'gatisfies Rule 23- (b) (3) because question§`o‘f(law and fact common to`the
members of the class predominate over any questions affecting only individual memb ers, and a class action
is superior to other available methods for the fair and efficient adjudication of the controversy
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1 8. For more than ten years, organized basketball tournaments have taken on special significance
in the Stateway community At Stateway, a community long plagued by limited public resources for
organized recreational activities these games have become a family tradition- fun-filled havens where
residents of neighboring communities unite in friendship and peace.

19. The events feature more than j ust basketball The tournaments teach teamwork, love and
respect for others skills for success and self-esteem. They provide inspiring alternatives to gangs, drugs,
and violence, social problems that have inflicted great damage upon many inner-city communities Most
importantly these activities provide young people and adults in the greater Stateway community with hope
and dreams for a better life.

20. For more than a decade, City of Chicago and federal officials have supported basketball
leagues in Chicago’s public housing communities noting their success in preventing crime and creating
structured activities that demand discipline and good character. Mayor Richard M. Daley, who has attended
the games, emphasized, “New ideas - that’s what you need. Some of these guys could have been gang-
bangers. Now they’re maturing, playing together, playing as a team. That’s what life is all about.” David
Southwell, “Bradd Leads East to Victory,” Chicago Sun-Times, July 31, 1994, p.23.

2 1 . The Stateway Roundball Classic is part of the tradition of basketball tournaments popular
with Stateway residents Founded by South-Side native Samuel Alexander, the annual event, which runs for
more than two months (February through April) in the Stateway Gardens Chicago Park District Field House,

consistently draws hundreds of players and spectators each week from the greater Stateway community

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22. The tournament has come to embody the positive values of the Stateway community- it
promotes unity and friendship, and demonstrates the potential ofcooperative, community-based activities
designed for families

23 . The Stateway Roundball Classic has a history of non-violence. Before February 22, 2001 ,
there had never been any significant violent incident during the hundreds of games played throughout the
history of the Roundball Classic tournament in the Stateway Field House, including the six previous
tournament games held earlier in February 2001 .

24. Continuing in this longstanding tradition at Stateway, Plaintiffs - young men, women,
children, families »~ gathered at the Stateway Gardens Chicago Park District Field House, 3658 South State
Street in Chicago, to participate in the Stateway Roundball Classic tournament in the early evening hours of
February 22, 2001 .

25. The February 22, 2001 Roundball Classic events featured two basketball games at the
Stateway Field House. The first game was scheduled to begin at 7:00 p.m.

26. Prior to Defendants’ raid on this community gathering, Plaintiffs were enjoying a typically
peaceful, joyous evening at the Stateway Roundball Classic.

27 . During the second half of the first game, the Individual Defendants (excluding Defendant
Brown) - including more than 20 Chicago Police Officers of multiple police units (collectively referred to

herein as the “Individual Defendants”)l -- stormed into and raided this community event.

 

lHereafter, the term, “Individual Defendants” shall exclude Defendant Brown. Defendant Brown
shall be identified separately

 

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28 . Upon information and belief, there were approximately 250 people (all African American)
present inside the Stateway Field House at the time of the Chicago police raid.

29. The Individual Defendants imprisoned Plaintilfs inside the Field House. The Individual Defendants
refused to allow Plaintiffs to leave, without being subjected to search by Chicago police officers

3 0. The Individual Defendants blocked each exit of the gymnasium by pulling their police cars
against the outside of each door. The Defendants used their police cars to barricade the parking lot to the
Field House, preventing Plaintiffs’ cars from leaving the lot.

3 l . A supervisory officer ordered a number of the Individual Defendants to position themselves
in front of each possible exit inside the gymnasium, iiirther preventing Plaintiffs from leaving the Field House.
Other lndividual Defendants blocked each entrance and exit to the Field House in the main lobby of the
building2 As Defendants imprisoned Plaintiffs in the Field House, lndividual Defendants searched Plaintiffs’
bodies and Plaintiffs’ personal belongings

32. Defendants then methodically seized and searched each and every Plaintiff and his or her
personal effects As part of Defendants’ systematic tactics, the Individual Defendants ordered Plaintiffs (with
few exceptions) to line up in the lobby of the Field House, where Individual Defendants searched Plaintiffs’
bodies and personal possessions

33 . Individual Defendants’ dehumanizing and unlawiiil treatment of Plaintiffs occurred in front of

Plaintiffs’ families, friends and community

 

2The main lobby is located inside the Field House, which leads to a hallway to the inner doors to
the gyrnnasium.

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34. After approximatelytwo hours of police occupation of the community event -- after having
detained, seized, and searched Plaintiffs and their personal effects -- the lndividual Defendants left the
Stateway Field House.

35. At all times relevant herein, Plaintiffs behaved lawfully and provided no probable or
reasonable cause or suspicion, or any other legal justification for their seizure, detention, and search by
lndividual Defendants

3 6. The Individual Defendants did not possess a warrant for their search of the Stateway Field
House, nor did they have a warrant to search Plaintiffs or their personal effects

37. The Individual Defendants refused to disclose the purposes of the raid to Plaintiffs or any
intended targets of the police action. At no time did any of the lndividual Defendants show Plaintiffs or
Chicago Park District personnel a warrant authorizing the raid.

38. Defendants did not have any probable cause or reasonable suspicion to seize and search
Plaintiffs or their possessions None of the Defendants, including the supervisory personnel, objected to or
prevented Defendants’ unlawful searches and seizures of Plaintiffs.

3 9. There was no indication of any violence or other form of criminal activity in the Stateway
Field House on Eebruary 22, 2001 , at any time prior to the raid by Chicago police officers

40. Plaintiffs did not consent to Individual Defendants’ search and seizure of Plaintiffs or Plaintiffs’
possessions
PLAINTIFFS BRENDA AND BRESHONTAE WILLIAMS

41 . PlaintiffBrenda Williams spent the aitemoon ofFebruary 22, 2001 in the Stateway Field

House, volunteering her time to teach community children to participate in an upcoming talent show. Plaintiff

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Brenda Williams and her one-year-old daughter, Breshontae Williarns, remained in the Field House to
support and watch the scheduled evening basketball games of the Stateway Roundball Classic tournament

42. Plaintiffs Brenda and Breshontae Williams were enjoying the events inside the gymnasium,
when the Individual Defendants burst in and blocked each of the exit doors and prevented Plaintiffs from
leaving the Field House.

43. The Individual Defendants ordered Plaintiffs Brenda and Breshontae Williams to leave the
gymnasium and to line up near the main entrance doors in the lobby of the Field House.

44. Brenda Williams held her baby, Breshontae, in her arms as the individual Defendants forced
Ms. Williarns to stand in line in the lobby against her will. Brenda Williams carried herbaby’ s diaperbag and
purse over her back.

45 . The Individual Defendants then ordered Brenda Williams to put her baby, Breshontae, on
the floor. One of the Individual Defendants an unidentified female Chicago police officer, searched Brenda
Williams up and down her body, searched inside of her pockets, and rifled through Ms. Williams’ baby
diaper bag and purse.

46. Individual Defendants searched one-year-old Breshontae up and down her body, as she
stood helpless on the ground, after the lndividual Defendants removed Breshontae from the relative safety
of her mother’s arms
PLAINTIFF ANDRE WILLIAMS

47. PlaintiffAndre Williarns arrived at the Field House at approximately 6 :40 p.m. on February

22, 2001 , to participate in the Stateway Roundball Classic.

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48 . Plaintiff is a basketball player for Team #2 in the tournament, the defending charnpions of last

year’s Roundball Classic toumament. His team was scheduled to play at 8:00 p.rn. on February 22, 2001 .

49. Another game involving different teams in the tournament began at approximately 7 :00 p.m.

50. lnside the gyrnnasium, before the start of Plaintiff Vlfilliams’ game, Individual Defendants
seized Plaintiff" s gym bag, unzipped it, and rifled through Plaintiff’ s personal belongings inside of the bag.
Individual Defendants further searched Plaintiff s coat and his coat pockets and then threw Plaintiff’s coat
on the gymnasium floor.

5 1 . While Plaintiff was dressed in his ofiicial team basketball uniform for the tournament (green
uniform shorts, a cut-off shirt, and basketball shoes), one of the Individual Defendants seized Plaintiff, treating
him as a criminal, while searching Plaintiff’ s person.

PLAINTIFF VICTORIA PALMER

52. PlaintiffVictoria Palrner is a lB-year-old elementary student Plaintiff s mother, loyce Palmer
permitted Victoria to accompany her friends to participate in the communitybasketball tournament in the
Chicago Park District Field House on February 22, 2001 .

5 3. Victoria and her friends arrived soon after the first game had started Because of the number
of other spectators participating in the tournament, Victoria and her friends stood in the hall to watch the game
(there were no seats left).

54. Victoria was enjoying the first game, when the Individual police Defendants raided the Field
House en masse and blocked all entrance and exit doors to the Field House.

5 5 . Afcer the lndividual Defendants stopped the tournament, they ordered Victoria to step into

the lobby and to line up near the main lobby doors

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5 6. Inside the lobby, one of the Indi\n`dual Defendants an unidentified Chicago police officer,
ordered Victoria to hold her arms out as the Individual Defendant searched 13-year-old Victoria up and
down her body.

PLAINTIFFS ANTHONY, KAREEM, AND JAREEM JACKSON

57 . PlaintiffAnthony Jackson brought his 9- and lO-year-old sons, Jareem and Kareem, to
watch him play basketball in the second game of the Stateway Roundball Classic in the Stateway Field
House on the evening of February 22, 2001 .

5 8. Inside the gymnasium, one of the Individual Defendants began searching Anthony.lackson’s
gym bag without his consent. The Individual Defendant threw Plaintiff]ackson’ s personal effects that were
in his gym bag, including his cell phone and clothes, onto the gymnasium floor.

5 9. When PlaintiffJackson attempted to pick up his coat from the floor, one of the Individual
Defendants seized and tore Mr. Jackson’s coat, stating, “I’ll do whatever I want to do.”

60. The Individual Defendants roughly seized Mr. Jackson’s sons, Jareem and Kareern, and
ordered the young boys to raise their arms as the Individual Defendants searched their bodies and inside
their pockets

61 . Afcer Mr. Jackson orally objected to the Individual Defendants’ search and seizure of his
children, Defendant Thomas grabbed Mr. Jackson, placed Mr. Jackson’s hands behind his back, forced
handcuffs around Mr. Jackson’s wrists, and searched Mr. Jackson up and down his body Mr. Jackson
was dressed solely in his short basketball uniforrn, when the Individual Defendants seized and searched him.

62. Without probable cause, Defendants Thomas, Hoard, and J ones falsely charged Plaintiff

Jackson with having committed the Illinois crime of Disorderly Conduct.

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63. The criminal charges against Mr. Jackson were dismissed on March 29, 2001 .
THE PLANNING OF THE RAID

64. Upon information and belief, Defendant Emest Brown, the Chicago Police Cornmander
of the Public Housing Unit, planned and coordinated the Chicago police raid of the Stateway Roundball
Classic.

65 . According to Defendant Brown’ s plans more than 20 Chicago police officers would invade
the Field House in the middle of the February 22, 2001 , Roundball Classic games imprison Plaintiffs, and
subject Plaintiffs to a mandatory search of their bodies and personal effects by Chicago police officers

66. The February 22, 2001 raid involved officers from multiple units of the Chicago Police
Department.

67. No Defendant, including Defendant Brown, obtained a warrant to raid the Roundball
Classic, or to seize and search Plaintiffs or their personal effects

68. When Defendant Brown coordinated the police raid, no Defendant, including Defendant
Brown, had probable cause or other lawful justification to search or seize Plaintiffs the community members
who were participating in the Roundball Classic on February 22, 2001 .

ALLEGATIONS OF CONSPIRACY. INTENTIONAL CONDUCT, AND PROXIMATE CAUSE

69. Defendant Brown and the hidividual Defendants, acting together and under color of law,
reached an understanding, engaged in a course of conduct and otherwise conspired among and between
themselves to deprive Plaintiffs of their Constitutional rights to be iiee from unreasonable searches and
seizures Defendant Brown and the Individual Defendants evidenced their agreement by their participation

in the joint course of conduct alleged herein, including, but not limited to, the Individual Defendants’ j oint,

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simultaneous and warrantless entry into the Stateway Field House, and the Individual Defendants’

coordinated effort to detain, search, and seize Plaintiffs in a substantially uniform manner.

70. Each of the Individual Defendants personally participated in the unconstitutional conduct
or acted j ointly with other Defendants who participated or acquiesced in the unconstitutional conduct, or
was at least aware of the conduct or plan, and failed to take action to prevent such conduct from occuning.

71 . Defendant Brown and each of the Individual Defendants acted or failed to act knowingly
and intentionally, wantonly or With reckless or callous disregard of, or indifference to, the rights of Plaintiffs

7 2. By their actions and omissions, the Individual Defendants destroyed the sanctity of
Plaintiff s communitybasketball tournament, violated Plaintiffs’ Constitutional rights, and robbed Plaintiffs
and the Stateway community of one of its most sacred traditions, leaving Plaintiffs traumatized and violated,
in a state of emotional fear, humiliation and shock.

73. As a direct and proximate result of the conduct of Defendants described above, Plaintiffs
were deprived of their Constitutional rights as stated below and have suffered and continue to suffer mental
and emotional distress including but not limited to humiliation, embarrassmentl fear, discomfort anxiety and
other mental and emotional pain.

CLAIM I: FOURTH AND FOURTEENTH AMENDMENTS
(Unlawful Search and Seizure)

74. Plaintiffs reallege and incorporate herein paragraphs 1-76 above.

75. Plaintiffs assert Claim I of this action against the Defendant Brown and the "lndividual
Defendants" in their individual capacities Claim I arises under 42 U.S.C. § 1983.

76. The actions and omissions of the Defendants without a warrant, probable cause or

reasonable suspicion, in unreasonably and unjustifiably searching and seizing Plaintiffs and their personal

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possessions deprived Plaintiffs of their Fourth and Fourteenth Amendment rights to be secure in their

person, papers and effects against unreasonable searches and seizures

77 . The aforementioned actions and inaction in the face of a Constitutional duty to intercede
by the lndividual Defendants were the direct and proximate cause of Plaintiffs' Constitutional violations and
injuries, mental suffering, anguish, embarrassment, humiliation, and loss of personal freedom, as set forth
more fully above.

78. Each of the Defendant's actions and omissions was intentional, willful, and exhibited a
conscious disregard or reckless indifference to Plaintiffs’ rights The award of punitive damages against
each Defendant is necessary to punish each Defendant for his or her misconduct, and to deter similar
misconduct

WHEREFORE, Plaintiffs, on behalf of themselves and the Class they represent, pray that the
Court:

(A) Declare that this cause may proceed as a class action with named Plaintiffs as the class
representatives and counsel for named Plaintiffs as counsel for the class;

(B) Issue a declaratory judgment that the Defendants’ acts and omissions as described in this
Complaint have violated the United States Constitution by depriving Plaintiffs of their rights to be free from
unreasonable searches and seizures;

(C) Award Plaintiffs j udgrnent against each of the Defendants, j ointly and severally, for actual
compensatory damages in an amount to be determined at trial;

(D) Award Plaintiffs judgment against each of the Defendants, jointly and severally, for

appropriate punitive damages in an amount to be determined at trial;

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(E) Award costs, expenses and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;
(F) Grant such other and further relief as this Court deems equitable and just.

CLAIM II: FOURTH AND FOURTEENTH AMENDMENT
(Unlawful Seizure and Detention)

79. Plaintiffs reallege and incorporate herein paragraphs 1 -78 above.

80. Plaintiffs assert Claim II of this action against the Defendant Brown and the Individual
Defendants in their individual capacities Claim II arises under 42 U. S .C. § 1983.

81 . The actions and omissions of Defendant Brown and the Individual Defendants falsely
arresting, and/or detaining Plaintiffs without probable cause or reaspnable suspicion, deprived Plaintiffs of
their Fourth and Fourteenth Amendment rights to be secure in their person, papers and effects against
unreasonable searches and seizures

82. The aforementioned actions and inaction in the face of a Constitutional duty to intercede
by the Individual Defendants were the direct and proximate cause ofPlaintiffs' Constitutional violations and
injuries, mental suffering, anguish, embarrassment, humiliation, and loss of personal freedom, as set forth
more fully above

83. Each of the Defendant’s actions and omissions was intentional, willful, and exhibited a
conscious disregard or reckless indifference to Plaintiffs’ rights The award of punitive damages against
Defendant Brown and each Individual Defendant is necessary to punish each Defendant for his or her
misconduct, and to deter similar misconduct

WHEREFORE, Plaintiffs, on behalf of themselves and the Class they represent, pray that the

Court:

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(A) Declare that this cause may proceed as a class action with named Plaintiffs as the class
representatives and counsel for named Plaintiffs as counsel for the ciass;

(B) Issue a declaratory judgment that the Defendants’ acts and omissions as described in this
Complaint have violated the United States Constitution by depriving Plaintiffs of their rights to be free from
unreasonable searches and seizures;

(C) Award Plaintiffs judgment against each of the Defendants, jointly and severally, for actual
compensatory damages in an amount to be determined at trial;

(D) Award Plaintiffs judgment against each of the Defendants jointly and severally for
appropriate punitive damages in an amount to be determined at trial;

(E) Award costs, expenses, and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;

(F) Grant such other and further relief as this Court deems equitable and just.

CLAIM III: SECTION 1983 CONSPIRACY

84. Plaintiffs reallege and incorporate herein paragraphs 1~83 above.

85. Plaintiffs assert Claim III of this action against the Defendant Brown and the lndividual
Defendants in their individual capacities Claim IlI arises under 42 U.S.C. § 1983.

86 . Defendant Brown and the individual Defendants acting together and under the color of law,
reached an understanding, engaged in a course of conduct and otherwise conspired among and between
themselves to deprive Plaintiffs of their Constitutional rights to be secure in their persons, papers, and
effects from unreasonable searches and seizures This course of conduct did deprive them of such rights
protected by the Fourth and Fourteenth Amendments to the United States Constitution.

87. ln furtherance of this conspiracy, the Defendant Brown and the lndividual Defendants

committed the overt acts set forth in the Facts above, including but not limited to the Individual Defendants’

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j oint, simultaneous and warrantless entry into the Stateway Field House, and the Individual Defendants’
coordinated effort to detain, search, and seize Plaintiffs in a substantially uniform manner. Upon information
and belief, Defendant Brown conveyed orders to the Individual Defendants to raid the Stateway Field
House and to detain, search and seize Plaintiffs and their personal effects

88. This conspiracy and the overt acts committed in furtherance thereof directly and
proximately caused Plaintiffs' Constitutional violations and injuries as set forth above.

WHEREFORE, Plaintiffs, on behalf of themselves and the Class they represent, pray that the
Court:

(A) Declare that this cause may proceed as a class action with named Plaintiffs as the class
representatives and counsel for named Plaintiffs as counsel for the class;

(B) Issue a declaratory judgment that the Defendants’ acts and omissions as described in this
Complaint have violated the United States Constitution by depriving Plaintiffs of their rights to be free from
unreasonable searches and seizures;

(C) Award Plaintiffs judgment against each of the Defendants jointly and severally, for actual
compensatory damages in an amount to be determined at trial;

(B) Award Plaintiffs judgment against each of the Defendants, jointly and severally, for
appropriate punitive damages in an amount to be determined at trial;

(E) Award costs, expenses, and reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988;

(F) Grant such other and further relief as this Court deems equitable and just. reasonable

CLAIM IV: ILLINOIS FALSE ARREST AND IMPRJSONMENT

89. Plaintiffs reallege and incorporate herein paragraphs 1-88 above.

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90. Claim IV of this Complaint is an Illinois common law action for false arrest and
imprisonment asserted against the Defendant Brown, the Individual Defendants and their employer, the City
of Chicago. This Court has jurisdiction of this claim under 28 U.S.C. § 1367.

91. The actions and omissions by the Defendant Brown and the lndividual Defendants
described above were undertaken within the scope of their employment as police officers of the City of
Chicago.

92. The Individual Defendants’ seizure and detention ofPlaintiffs in the Stateway Field House,
refusing to permit Plaintiffs to leave without being searched, and the Individual Defendants’ search of
Plaintiffs and their possessions as more fully described above, were intentional, willful, wanton,
unreasonable, and without probable cause; they denied Plaintiffs of their personal liberty against Plaintiffs’
will; and they constitute the tort of false arrest and imprisonment under Illinois law. Further, these actions
directly and proximately caused Plaintiffs’ injuries as set forth above.

WHEREFORE, Plaintiffs, on behalf of themselves and the Class they represent, pray that the
Court declare that this cause may proceed as a class action with named Plaintiffs as the class
representatives and counsel for named Plaintiffs as counsel for the class; enter j ud gment in their favor
against Defendant Brown, the Individual Defendants and the City of Chicago, jointly and severally for actual
compensatory damages in an amount to be determined at trial; award Plainti ffs judgment against each of
the Defendants (excluding the City of Chicago), jointly and severally, for appropriate punitive damages in
an amount to be determined at trial; award all reasonable attomeys' fees and costs; and grant any
additional relief this Court deems just and equitable

CLAIM V: ILLINOIS LOCAL GOVERNMENT TORT IMMUNITY ACT
(745 ILCS 10\9-102~Defendant City of Chicago)

93. Plaintiffs reallege and incorporate herein paragraphs 1-92 above.

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V \_/`
94. Claim V of this Complaint is an Illinois statutory claim against Defendant City of Chicago.
This Court has jurisdiction of this claim under 28 U.S.C. § 1367.

95. Defendant City of Chicago is the employer of each of the Individual Defendants

96. Each of the Individual Defendants and Defendant Brown committed the acts and omissions
alleged above under color of state law and in the scope of their employment as employees of the City of
Chicago.

WHEREFORE, should any of the lndividual Defendants or Defendant Brown be found

liable on one or more of the claims set forth above, Plaintiffs demand that, pursuant to 745 ILCS 10\9-102,
the Defendant CityofChicago be found liable for any j udgment Plaintiffs obtain thereon against said
defendants as well as for all attorneys’ fees and costs awarded

PLAIN'I`IFF DEMANDS TRIAL BY JURY ON ALL CLAIMS.

Respectfully submitted,

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One of Plaintiff’ s Attorneys
Date: May 3, 2001

Crai g B. Futterman

EDWIN F. MANDEL LEGAL A]D CLINIC
6020 S. University

Chicago, Illinois 60637

(773) 702-9611

fax: (773) 702-2063
futterman@uchicago.edu

Attorney # 6206936

Thomas Peters, Esq.
542 S. Dearbom St.
Suite 750

Chicago, Illinois 60605
(312) 697-0022

fax: (312) 697-0812

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Craig B. Futterman, Handel Legal Aid C].inic.
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DEFENDANTS_

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Lieutenant Ernest Brown, et al.

JUDGE BUCKLO
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NOTE: |N LAND CONDEMNAT|ON CASES, USE THE LOCAT!ON OF THE
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Mara S. Georges
Corporation Counsel 7 _ k
121 N. LaSalle St., Room 600, Chicago, IL 606€

 

    
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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In the Matter of
Andre Williams, et al.
Plaintiffs
vs.
Ernest Brown, et al.
Defendants

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CES ARE HEREBY FILED BY THE_UNDERS]GNED AS ATTORNEY(S) FOR:'Andre williams,

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of his minor children Jareem Jackson and Kareem Jackson;

Tyce Pa]mer as next friend of her minor child, Victo'ria Pa]mer, on behalf of themselves and all

other similary situated, Plaintiffs

 

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